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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

  NARENDRA T. DINDIYAL,
                                                          Case No.:
            Plaintiff,

  -vs-

  SUNRISE CREDIT SERVICES, INC.,

        Defendant.
  ____________________________/

                                              COMPLAINT
                                             JURY DEMAND

                    Plaintiff, NARENDRA DINDIYAL (hereinafter “Plaintiff”) hereby brings this

  action against Defendant, SUNRISE CREDIT SERVICES, INC. (hereinafter “Defendant”) for

  violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and the

  Florida Consumer Collection Practices Act § 559.72 et seq. (hereinafter "FCCPA") in order to

  remedy illegal debt collection practices.

                                     JURISDICTION AND VENUE

            1.      This Court has jurisdiction under 28 U.S.C. § 1331 because this action arises under

  the laws of the United States.

            2.      Supplemental jurisdiction exists for Plaintiff’s FCCPA claim pursuant to 28 U.S.C.

  § 1367.

            3.      Venue here is proper under 28 U.S.C. § 1391 because a substantial part of the events

  giving rise to the claim occurred here.

                                                 PARTIES

            4.      Plaintiff is a natural person who, at all times relevant to this action, is and was a

  resident of Broward County, Florida.
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          5.      Plaintiff, who, as more fully described herein, is allegedly obligated to pay a debt

  and is therefore a consumer within the meaning of 15 U.S.C. § 1692a(3).

          6.      Defendant is a New York corporation whose principal place of business is 260

  Airport Plaza, Farmingdale, NY 11735.

          7.      Defendant uses the mail and telephone in a business the principal purpose of which

  is the collection of debts.

          8.      Defendant is a “debt collector” within the meaning of 15 U.S.C. § 1692a(6) and is

  registered as a consumer collection agency in the state of Florida, license number: CCA0900483.

          9.      Defendant is a “person” as defined by Florida Statute §559.55.

         10.      Plaintiff is a “consumer” as defined by Florida Statute §559.55(8).

         11.      The debt that is the subject matter of this complaint is a “consumer debt” as defined

  by Florida Statute §559.55(6).

                                             APPLICABLE LAW

          The FDCPA

          12.     The FDCPA provides, in relevant part: A debt collector may not use any false,

  deceptive, or misleading representation or means in connection with the collection of any debt.

  Without limiting the general application of the foregoing, the following conduct is a violation of

  this section: (2) The false representation of -- (A) the character, amount, or legal status of any

  debt … 15 U.S.C. § 1692e.

          13.     A consumer has a right under the FDCPA to receive information from a debt

  collector that is not “false, deceptive, or misleading.” Pralle v. Cooling & Winter, LLC, No. 2:

  16-cv-865-FtM-99CM (M.D. Fla. May 2, 2017).

          14.     The FDCPA defines the term “consumer” as “any natural person obligated or
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  allegedly obligated to pay any debt.” 15 U.S.C. § 1692a(3) (emphasis added).

         15.     The FDCPA defines the term “debt” as “any obligation or alleged obligation of

  a consumer to pay money arising out of a transaction in which the money, property, insurance, or

  services which are the subject of the transaction are primarily for personal, family, or household

  purposes, whether or not such obligation has been reduced to judgment.” 15 U.S.C. § 1692a(5)

  (emphasis added).

         16.     The FDCPA defines the term “debt collector” as “any person who uses any

  instrumentality of interstate commerce or the mails in any business the principal purpose of

  which is the collection of any debts, or who regularly collects or attempts to collect, directly or

  indirectly, debts owed or due or asserted to be owed or due another.” 15 U.S.C. § 1692a(6)

  (emphasis added).

         17.     The FDCPA defines the term “consumer” as “any natural person obligated or

  allegedly obligated to pay any debt.” 15 U.S.C. § 1692a(3) (emphasis added).

         18.     For the purposes of the claims brought in this action, the applicable standard

  under the FDCPA in the Eleventh Circuit is “the least sophisticated” consumer test. See Jeter v.

  Credit Bureau, Inc., 760 F.2d 1168, 1175 (11th Cir. 1985) (adopting the test enunciated in

  Exposition Press Inc. v. FTC, 295 F.2d 869 (2d Cir. 1961)).

         19.     The principles underlying the FDCPA must be implemented for “the public— that

  vast multitude which includes the ignorant, the unthinking and the credulous.” Jeter, 760 F.2d at

  1172-73 (internal citations omitted). The “fact that a false statement may be obviously false to

  those who are trained and experienced does not change its character, nor take away its power to

  deceive others less experienced.” Id. at 1173 (internal citations omitted).
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           20.     Within five days after the initial communication with a consumer in connection

  with the collection of any debt the FDCPA requires a debt collector to send the consumer a written

  notice containing specific information.1

           21.     The FDCPA is essentially a strict liability statute and, therefore, does not require

  a showing of intentional conduct on the part of a debt collector. See Rivera v. Amalgamated Debt

  Collection Services, 462 F. Supp. 2d 1223 (S.D. Fla. 2006).

           The FCCPA

           22.     Consumer protection statutes are remedial in nature and should be liberally

  construed in favor of the public. See Samara Dev. Corp. v. Marlow, 556 So. 2d 1097, 1100 (Fla.

  1990).

           23.     The FCCPA’s goal is to “provide the consumer with the most protection possible.”

  LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1192 (11th Cir. 2010) (citing Fla. Stat. §

  559.552).

           24.     The FCCPA mandates that “no person” shall engage in certain practices in

  collecting consumer debt. Fla. Stat. § 559.72. This language includes all unlawful attempts at

  collecting consumer debts by creditors and debt collectors alike. See Williams v. Streeps Music

  Co., 333 So. 2d 65, 67 (Fla. Dist. Ct. App. 1976).


           1
            (1) the amount of the debt; (2) the name of the creditor to whom the debt is owed;
           (3) a statement that unless the consumer, within thirty days after receipt of the
           notice, disputes the validity of the debt, or any portion thereof, the debt will be
           assumed to be valid by the debt collector; a statement that if the consumer notifies
           the debt collector in writing within the thirty-day period that the debt, or any portion
           thereof, is disputed, the debt collector will obtain verification of the debt or a copy
           of a judgment against the consumer and a copy of such verification or judgment
           will be mailed to the consumer by the debt collector; and (5) a statement that, upon
           the consumer’s written request within the thirty-day period, the debt collector will
           provide the consumer with the name and address of the original creditor, if different
           from the current creditor. See 15 U.S.C. §1692g(a).
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         25.     The FCCPA provides that no person shall “[w]illfully communicate with the

  debtor or any member of her or his family with such frequency as can reasonably be expected to

  harass the debtor or her or his family, or willfully engage in other conduct which can reasonably

  be expected to abuse or harass the debtor or any member of her or his family.” Fla. Stat.

  §559.72(7).

                                       FACTUAL ALLEGATIONS

         26.     The factual allegations of this Complaint stem from Defendant’s attempts to

  collect an allegedly delinquent debt assigned to Defendant from AT&T U-Verse. The alleged

  debt was originally for personal, family, or household purposes.

         27.     On January 2, 2019, Plaintiff missed a phone call from a number appearing on his

   personal cellular phone as 507-872-7352; Plaintiff returned the call and it was routed directly to

   a service representative of Defendant. Plaintiff hung up the phone when it was answered by

   Defendant because he had not had any previous communications with Defendant.

         28.     On January 10, 2018, Plaintiff missed a phone call from a number appearing on

   his personal cellular phone as 612-134-8258; Plaintiff returned the call and it was routed

   directly to a service representative of Defendant. Again, Plaintiff hung up the phone when it

   was answered by Defendant because he had not had any previous communications with

   Defendant.

         29.     On January 18, 2018, Plaintiff received a phone call from a number appearing on

   his personal cellular phone as 651-319-5840. Plaintiff picked up the phone and a service

   representative of Defendant stated the purpose of the call was to collect a debt that was

   allegedly owed to AT&T for internet, phone, and/or television services. Plaintiff explained that
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   he was not aware of any outstanding amounts owed to AT&T for such services and requested

   written validation to be sent to him by mail as required by 15 U.S.C. §1692g(a). See supra ¶20.

         30.      On or about January 19, 2018, Plaintiff received a letter from Defendant in

  connection with the AT&T account with a balance of $295.14. A true and correct copy of the

  January 19th Letter is attached hereto as Exhibit “A.”

         31.      Between February 13, 2018 and February 19, 2018 Plaintiff would continue to

   receive phone calls from Defendant on the corresponding dates.

               Date of Call                 Time (AM/PM)                    Number Calling

               02/13/2018                      10:44 AM                      651-346-7527

               02/13/2018                       2:54 PM                      651-346-7527

               02/13/2018                       6:46 PM                      651-346-7527

               02/14/2018                      10:22 AM                      651-319-5840

               02/14/2018                       6:12 PM                      612-990-1900

               02/15/2018                      11:45 AM                      651-346-7529

               02/15/2018                       3:34 PM                      651-346-7529

               02/16/2018                      10:26 AM                      651-346-7527

               02/16/2018                       2:15 PM                      651-346-7527

               02/17/2019                       9:30 AM                      651-319-5840

               02/19/2019                      11:53 AM                      651-346-7527

               02/19/2019                       6:30 PM                      651-346-7527



         32.      Since the January 18, 2018 phone call where Plaintiff specifically requested

   validation of the debt, Plaintiff received an additional twelve (12) phone calls from Defendant
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      in a six-day period in an attempt to collect the debt. Eleven (11) of those calls came from the

      651 area code and one came from the 612 area code. According to the North American

      Numbering Plan (NANP)2, 651 is the telephone numbering plan code for Saint Paul, MN and

      612 is the code for Minneapolis, MN. Prior to becoming a Florida resident, Plaintiff was born in

      Minnesota and resided there for numerous years. Despite moving to Florida, Plaintiff still uses a

      State of Minnesota area code for his personal cell phone.

            33.      On February 20, 2018 at approximately 11:47 a.m., Plaintiff received a phone call

      from a representative of Defendant, which appeared on Plaintiff’s cellular phone as 651-319-

      5840. The representative identified herself as Ms. Watson and that the purpose of her call was to

      collect payment from Plaintiff on the AT&T account. A true and correct copy of the call

      described as it appeared on Plaintiff’s cellular phone is attached hereto as part of Composite

      Exhibit “B.”

            34.      Rather than making a payment, Plaintiff requested Ms. Watson send a validation

      notice concerning the AT&T account to Plaintiff as required by 15 U.S.C. §1692g(a). See supra

      ¶20. The duration of the call was approximately three minutes and forty-one seconds as

      reflected by the information appearing on Plaintiff’s cell phone screen and further attached as

      part of Composite Exhibit “B.”

            35.      Ms. Watson stated to Plaintiff that Defendant could not or would not send a

      validation notice and she needed to collect the amounts alleged as owed. Ms. Watson further

      stated that something would be sent in the mail to Plaintiff, although not a validation notice.

            36.      On or about February 21, 2018, Plaintiff received a second letter from Defendant


  2
    Under §251(e)(1) of the Telecommunications Act of 1996, Pub. LA. No. 104-104, 110 Stat. 56
  (1996), the Federal Communications Commission (FCC) was required to designate one or more
  impartial entities to administer telecommunications numbering and to make such numbers
  available on an equitable basis.
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   in connection with the AT&T account with a balance of $295.14. A true and correct copy

   February 21, 2018 Letter is attached hereto as Exhibit “C.”

         37.      Since the February 20, 2018 phone call where Plaintiff specifically requested

   validation of the debt, Plaintiff received an additional nine (9) phone calls from Defendant.

   Seven of those calls came from the 651 area code (Saint Paul, MN) and two came from the 612

   area code (Minneapolis, MN).

               Date of Call                  Time (AM/PM)                     Number Calling

                03/02/2018                       10:00 AM                       651-346-7529

                03/05/2018                       10:06 AM                       651-346-7529

                03/05/2018                        3:03 PM                       651-346-7529

                03/05/2018                        4:20 PM                       651-346-7529

                03/07/2018                       10:13 AM                       651-319-5840

                03/07/2018                        2:28 PM                       651-319-5840

                03/09/2018                      10: 47 AM                       651-346-7527

                03/12/2018                       10:42 AM                       612-324-1246

                03/12/2018                       10:42 AM                       612-324-1246



         38.      On two additional occasions that fell during the period of this second table of calls

   reflected directly above, Plaintiff asked for validation of the debt to be sent to him in writing:

               a. On March 7, 2018 during the call that was placed to Plaintiff’s cell phone at 2:28

                  PM; and

               b. On March 9, 2018 during the call that was placed to Plaintiff’s cell phone at 10:47

                  AM.
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          39.     On April 27, 2018, Plaintiff received what would be the final phone call

   Defendant. On that call, Plaintiff expressly stated that Defendant did not have permission to

   contact him by phone anymore.

          40.     Defendant has complied with that request, but has never sent the required

   validation notice as required by 15 U.S.C. §1692g(a).

                             COUNT I – VIOLATION OF 15 U.S.C. §1692g(a)

          41.     Plaintiff incorporates by reference the allegations in paragraphs 1 through 40 as if

   fully set forth herein.

          42.     At all times relevant, Defendant is a “debt collector” within the meaning of 15

   U.S.C. § 1692a(6).

          43.     At all times relevant, Plaintiff was allegedly obligated to pay a debt and is

   therefore a “consumer” within the meaning of 15 U.S.C. § 1692a(3).

          44.     Defendant, through its agents, representatives, and/or employees acting within the

scope of their authority violated 15 U.S.C. §1692g(a) by failing to provide Plaintiff with the

required notice within five days of the initial communication, which was January 18, 2018.

          45.     The January 19th Letter described herein and attached as Exhibit “A” does not

contain the required information of §1692g(a). Moreover, the subsequent letter dated February 21,

2019 and attached as Exhibit “C” also fails to meet the requirements of §1692g(a).

          46.     After the January 19th Letter, Plaintiff made three subsequent requests for validation

of the debt that falls under §1692g(a). See supra ¶¶33, 37, and 38. Yet, Defendant has failed to provide

the required notice.

          47.     15 U.S.C. § 1692k(a) provides that a debt collector who fails to comply with any
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provision of the FDCPA with respect to any person is liable to such person for up to $1000 in statutory

damages, actual damages, the costs of the action, together with a reasonable attorney’s fee as

determined by the court.

         48.      As a result of Defendant’s aforementioned violations, Plaintiff suffered damages,

  including but not limited to, time spent addressing Defendant’s illegal collection practices.

          WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in his favor and

  against Defendant for:

          a.      Actual and Statutory damages pursuant to 15 U.S.C. § 1692k;

          b.      Attorneys’ fees, litigation expenses and costs of the instant suit; and

          c.      Such other or further relief as the Court deems proper.

                            COUNT II - VIOLATION OF 15 U.S.C. §1692e(10)

         49.      Plaintiff incorporates by reference the allegations in paragraphs 1 through 48 as if

  fully set forth herein.

         50.      At all times relevant, Defendant is a “debt collector” within the meaning of 15

   U.S.C. § 1692a(6).

         51.      At all times relevant, Plaintiff was allegedly obligated to pay a debt and is

   therefore a “consumer” within the meaning of 15 U.S.C. § 1692a(3).

         52.      A debt collector may not use any false, deceptive, or misleading representation or

  means in connection with the collection of any debt. Johnson v. Midland Funding, LLC, 823 F.3d

  1334 (11th Cir. 2016).

         53.      Defendant violated § 1692e(10) of the FDCPA by using false and deceptive means

  in an attempt to collect a debt from Plaintiff.

         54.      Specifically, every phone call to Plaintiff by Defendant was done with area codes
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  that are all assigned to the state of Minnesota.

         55.       Plaintiff saw the incoming calls described herein assigned to numbers with area

  codes from Minnesota and returned some of the missed calls because he reasonably believed

  such calls were from people he had previous contact with.

         56.       Defendants use of multiple Minnesota based area codes in connection with

  collecting a debt is deceptive to the least sophisticated consumer because such a consumer would

  be more inclined to answer incoming calls with familiar area codes.

         57.       15 U.S.C. § 1692k(a) provides that a debt collector who fails to comply with any

provision of the FDCPA with respect to any person is liable to such person for up to $1000 in statutory

damages, actual damages, the costs of the action, together with a reasonable attorney’s fee as

determined by the court.

         58.       As a result of Defendant’s aforementioned violations, Plaintiff suffered damages,

  including but not limited to, time spent addressing Defendant’s illegal collection practices.

            WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in his favor and

  against Defendant for:

            a.     Actual and Statutory damages pursuant to 15 U.S.C. § 1692k;

            b.     Attorneys’ fees, litigation expenses and costs of the instant suit; and

            c.     Such other or further relief as the Court deems proper.

                              COUNT III – VIOLATION OF §559.72(7)
                      AS TO CALLS AFTER FIRST REQUEST FOR VALIDATION

        59.        Plaintiff incorporates by reference paragraphs 1 through 58 as if fully set forth

  herein.

        60.        At all times relevant to this action, Defendant is subject to and must abide by the

  law of Florida, including Florida Statute § 559.72.
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        61.       Defendant violated Florida Statute § 559.72(7) by “[w]illfully communicat[ing]

  with the debtor or any member of her or his family with such frequency as can reasonably be

  expected to harass the debtor or her or his family, or willfully engage in other conduct which can

  reasonably be expected to abuse or harass the debtor or any member of her or his family.”

        62.       When considering the issue of harassment and willfulness under the FCCPA, the

  Fourth District Court of Appeal has stated

              The trier of fact may consider such communications harassing in their
              frequency, however, when they continue after all such information has been
              communicated and reasonable efforts at persuasion and negotiation have
              failed. Beyond that point communication "can reasonably be expected to
              harass the debtor or his family," because it tends only to exhaust the resisting
              debtor's will. If the creditor intends that likely effect, further communication
              is willful and actionable.

  Schauer v. Morse Operations, Inc.¸ 5 So. 3d 2, 5 (Fla. 4th DCA 2009).

        63.       On January 18, 2018, Plaintiff answered a phone call from Defendant and

  requested the required validation notice under §1692g(a) be sent to him, but none was sent.

        64.       Rather, Defendant provided a deficient validation notice and instead called

  Plaintiff an additional twelve (12) times between February 13 and February 19, 2018. See supra ¶

  31.

        65.       “Any person who fails to comply with any provision of s. 559.72 is liable for

  actual damages and for additional statutory damages as the court may allow, but not

  exceeding $1,000, together with court costs and reasonable attorney’s fees incurred by the

  plaintiff. In determining the defendant’s liability for any additional statutory damages, the court

  shall consider the nature of the defendant’s noncompliance with s. 559.72, the frequency and

  persistence of the noncompliance, and the extent to which the noncompliance was intentional.”

  Fla. Stat. 559.77(2) (emphasis added).
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       66.         As a result of Defendant ’s aforementioned violations, Plaintiff suffered damages,

  including but not limited to, time spent addressing Defendant’s illegal collection practices.

            WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in his favor

   and against Defendant for statutory and actual damages pursuant to Fla. Stat. § 559.77,

   attorneys’ fees, litigation expenses and costs of the instant suit, and such other or further relief

   as the Court deems proper.

                             COUNT IV – VIOLATION OF §559.72(7)
                    AS TO CALLS AFTER SECOND REQUEST FOR VALIDATION

       67.         Plaintiff incorporates by reference paragraphs 1 through 66 as if fully set forth

  herein.

       68.         At all times relevant to this action, Defendant is subject to and must abide by the

  law of Florida, including Florida Statute § 559.72.

       69.         Defendant violated Florida Statute § 559.72(7) by “[w]illfully communicat[ing]

  with the debtor or any member of her or his family with such frequency as can reasonably be

  expected to harass the debtor or her or his family, or willfully engage in other conduct which can

  reasonably be expected to abuse or harass the debtor or any member of her or his family.”

       70.         On February 20, 2018, Plaintiff answered a phone call from Defendant and

  requested the required validation notice under §1692g(a) be sent to him, but none was sent. This

  was Plaintiff’s second request.

       71.         Rather, the service representative told Defendant sending a validation notice was

  not possible. See supra ¶ 35. Furthermore, Defendant called Plaintiff an additional five times

  before he would make his third request for validation. See ¶¶ 37 and 38. Defendant would

  ultimately send a deficient validation notice under the FDCPA. See Exhibit “C.”

       72.         “Any person who fails to comply with any provision of s. 559.72 is liable for
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  actual damages and for additional statutory damages as the court may allow, but not

  exceeding $1,000, together with court costs and reasonable attorney’s fees incurred by the

  plaintiff. In determining the defendant’s liability for any additional statutory damages, the court

  shall consider the nature of the defendant’s noncompliance with s. 559.72, the frequency and

  persistence of the noncompliance, and the extent to which the noncompliance was intentional.”

  Fla. Stat. 559.77(2) (emphasis added).

       73.         As a result of Defendants ’s aforementioned violations, Plaintiff suffered

  damages, including but not limited to, time spent addressing Defendant’s illegal collection

  practices.

            WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in his favor

   and against Defendant for statutory and actual damages pursuant to Fla. Stat. § 559.77,

   attorneys’ fees, litigation expenses and costs of the instant suit, and such other or further relief

   as the Court deems proper.

                              COUNT V - VIOLATION OF §559.72(7)
                     AS TO CALLS AFTER THIRD REQUEST FOR VALIDATION

       74.         Plaintiff incorporates by reference paragraphs 1 through 73 as if fully set forth

  herein.

       75.         At all times relevant to this action, Defendant is subject to and must abide by the

  law of Florida, including Florida Statute § 559.72.

       76.         Defendant violated Florida Statute § 559.72(7) by “[w]illfully communicat[ing]

  with the debtor or any member of her or his family with such frequency as can reasonably be

  expected to harass the debtor or her or his family, or willfully engage in other conduct which can

  reasonably be expected to abuse or harass the debtor or any member of her or his family.”

       77.         On March 7, 2018, Plaintiff answered a phone call from Defendant and
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  requested the required validation notice under §1692g(a) be sent to him, but none was sent. This

  was Plaintiff’s third request.

       78.         Rather, Defendant called Plaintiff two days later to collect on the debt at which

  point Plaintiff would make his fourth and final request for validation. See ¶¶ 37 and 38.

       79.         “Any person who fails to comply with any provision of s. 559.72 is liable for

  actual damages and for additional statutory damages as the court may allow, but not

  exceeding $1,000, together with court costs and reasonable attorney’s fees incurred by the

  plaintiff. In determining the defendant’s liability for any additional statutory damages, the court

  shall consider the nature of the defendant’s noncompliance with s. 559.72, the frequency and

  persistence of the noncompliance, and the extent to which the noncompliance was intentional.”

  Fla. Stat. 559.77(2) (emphasis added).

       80.         As a result of Defendants ’s aforementioned violations, Plaintiff suffered

  damages, including but not limited to, time spent addressing Defendant’s illegal collection

  practices.

            WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in his favor

   and against Defendant for statutory and actual damages pursuant to Fla. Stat. § 559.77,

   attorneys’ fees, litigation expenses and costs of the instant suit, and such other or further relief

   as the Court deems proper.



                             COUNT VI - VIOLATION OF §559.72(7)
                    AS TO CALLS AFTER FOURTH REQUEST FOR VALIDATION

       81.         Plaintiff incorporates by reference paragraphs 1 through 80 as if fully set forth

  herein.

       82.         At all times relevant to this action, Defendant is subject to and must abide by the
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  law of Florida, including Florida Statute § 559.72.

       83.       Defendant violated Florida Statute § 559.72(7) by “[w]illfully communicat[ing]

  with the debtor or any member of her or his family with such frequency as can reasonably be

  expected to harass the debtor or her or his family, or willfully engage in other conduct which can

  reasonably be expected to abuse or harass the debtor or any member of her or his family.”

       84.       On March 9, 2018, Plaintiff answered a phone call from Defendant and

  requested the required validation notice under §1692g(a) be sent to him, but none was sent. This

  was Plaintiff’s fourth and final request.

       85.       Rather, Plaintiff placed an additional three calls between March 9, 2018 and

   March 12, 2018.

       86.       “Any person who fails to comply with any provision of s. 559.72 is liable for

  actual damages and for additional statutory damages as the court may allow, but not

  exceeding $1,000, together with court costs and reasonable attorney’s fees incurred by the

  plaintiff. In determining the defendant’s liability for any additional statutory damages, the court

  shall consider the nature of the defendant’s noncompliance with s. 559.72, the frequency and

  persistence of the noncompliance, and the extent to which the noncompliance was intentional.”

  Fla. Stat. 559.77(2) (emphasis added).

       87.       As a result of Defendants ’s aforementioned violations, Plaintiff suffered

  damages, including but not limited to, time spent addressing Defendant’s illegal collection

  practices.

         WHEREFORE, Plaintiff respectfully requests this Court to enter judgment in his favor

   and against Defendant for statutory and actual damages pursuant to Fla. Stat. § 559.77,
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   attorneys’ fees, litigation expenses and costs of the instant suit, and such other or further relief

   as the Court deems proper.

                                           JURY DEMAND

       88.       Plaintiff demands a trial by jury on all issues so triable.

                                                 Respectfully submitted,


                                                 /s/ Kevin Rajabalee
                                                 Kevin Rajabalee, Esq.
                                                 FBN: 119948

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